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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Civ. No. 13-3003 (WMW/DTS)

 United States of America,
 ex rel. Kipp Fesenmaier,

                      Plaintiffs,
                                                   MEMORANDUM IN SUPPORT
               v.                                  OF MOTION TO COMPEL
                                                   ATTORNEY-CLIENT
 The Cameron-Ehlen Group, Inc.,                    COMMUNICATIONS AND
 d/b/a Precision Lens, and                         WORK PRODUCT
 Paul Ehlen

                      Defendants.


   I.      INTRODUCTION

        Defendants the Cameron-Ehlen Group, Inc. d/b/a Precision Lens and Paul Ehlen

intend to defend this case by relying on the advice counsel provided them from 2006 to

2015 regarding Defendants’ compliance with fraud and abuse laws, including the federal

Anti-Kickback Statute, as part of their day-to-day business practices. Plaintiffs the United

States of America and Relator Kipp Fesenmaier respectfully move this Court for an order:

(1) finding that Defendants have waived any attorney client privilege or work product

protection relating to this subject matter; (2) directing Defendants to immediately produce

all documents relating to this advice; (3) clarifying for any outside law firms the scope of

Defendants’ subject matter waiver and that they should not withhold documents relating to

this advice; (4) requiring Defendants to submit a comprehensive privilege log of all

materials they continue to withhold; and (5) requiring Defendants to provide complete
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responses regarding facts supporting their good faith and/or advice of counsel defense, in

response to Plaintiffs’ Interrogatory 9.

       Defendants improperly limit the scope of their waiver to certain attorneys, as

opposed to the subject matter of their advice of counsel defense. This construction is

inconsistent with the law governing the advice of counsel defense, and concomitant waiver

of the attorney-client privilege and work product doctrine. See PaineWebber Group, Inc.

v. Zinsmeyer Trusts P’ship, 187 F.3d 899, 991-92 (8th Cir. 1999).

       Of particular concern, Defendants continue to withhold communications involving

Attorney Thomas Beimers on the basis that he is current trial counsel for Precision Lens.

This ignores Attorney Beimers’ role providing counsel to Defendants for years during the

government’s False Claims Act (FCA) investigation, wherein he provided advice about

kickbacks Defendants provided or considered providing through 2015. In a similar case,

the United States District Court for the District of South Carolina recently ordered FCA

defendants to produce attorney-client communications and work product involving counsel

that advised them during the government’s investigation, where such materials related to

the subject matter of the defendants’ advice of counsel waiver and occurred during the

timeframe of unlawful conduct alleged in the complaint. United States ex rel. Lutz v.

Berkeley Heartlab, Inc., No. 9:11-CV-1593-RMG, 2017 WL 1282012 at *2–3 (D.S.C.,

Apr. 5, 2017).

       Defendants’ continued withholding prejudices Plaintiffs because it would allow

Defendants to hold back legal advice regarding compliance with fraud and abuse laws,

including the federal Anti-Kickback Statute, as part of their day-to-day business practices

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during the exact period of time at issue in the Complaint. This includes: (1) advice that

Defendants followed; (2) advice that Defendants did not follow; (3) advice that contradicts

advice Defendants intend to rely on; and (4) communications that show Defendants’ state

of mind.

         It is critical that Plaintiffs receive prompt timely relief on this issue, as Defendants

seek to assert that they took actions in good faith and/or in reliance on attorney advice.

Plaintiffs are entitled to learn the nature of that advice prior to deposing the key witnesses

in this case.

   II.      BACKGROUND

         This motion involves Defendants’ recent formal assertion of the advice of counsel

defense and their corresponding subject matter waivers of the attorney-client privilege and

work product doctrine, to include any documents withheld on these bases. Defendants have

not produced – or properly logged – all records that fall within the scope of these waivers.

Defendants’ continued withholding and deficient logging is inconsistent with the law

governing the advice of counsel defense, as well as Defendants’ own treatment of its

records to date, as set forth below.

            A. Defendants Log and then De-Log Privileged Communications (LOG 1
               and LOG 2) of Attorney Thomas Beimers.

         Before intervening in this lawsuit, the United States conducted an investigation to

determine if Precision Lens and Paul Ehlen, among others, violated the FCA. (See

Declaration of Bahram Samie (hereinafter “Samie Decl.”) ¶ 2.) During the investigation,

Precision Lens produced a privilege log (“LOG 1”) in connection with its document


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production. (Id., Ex. A, LOG 1) All logged materials were created within the relevant time

period defined by the Complaint, January 1, 2006 – December 31, 2015. (Id.)

       LOG 1 lists over one hundred withheld communications specifically identifying

Attorney Thomas Beimers providing legal advice to Defendants. (See id.) Approximately

half (66) of the entries mention an ongoing government investigation or ongoing litigation,

and approximately half (52) do not. (Id.) For those that do not, LOG 1 describes the

communications as related to discrete events or transactions involving remuneration to be

paid by Defendants to their customers. (See id.) For example, LOG 1 describes some of the

withheld documents as follows:

          • Confidential document reflecting legal advice of Thomas Beimers*
            regarding kickback liability.

          • Confidential communication from [Attorney Beimers] providing
            legal advice regarding compliance with fraud and abuse laws in
            connection with trips for physicians to product demonstrations.

          • Confidential document to facilitate legal advice by Thomas Beimers*
            regarding kickback liability.

          • Confidential communication to [Attorney Beimers] seeking legal
            advice regarding legal implications of paying for physician travel.

          • Confidential communication to [Attorney Beimers] seeking legal
            advice regarding potential liability for product demonstration trips.

          • Confidential document [provided to Attorney Beimers] to facilitate
            legal advice regarding potential kickback liability for marketing
            expenses.

          • Confidential communication reflecting legal advice of Thomas
            Beimers* and providing legal advice regarding selling Delta
            Skymiles to customers.


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          • Confidential communication to [Attorney Beimers] seeking legal
            advice regarding a draft consulting agreement.

(Id.) LOG 1 also identifies, among other things, over five hundred withheld records where

Precision Lens’ former chief financial officer (CFO), Christopher Reichert, is the only

named attorney; over 100 withheld records involving Defendants’ outside counsel, Gina

Kastel; and 90 withheld records deemed “non-responsive.” (Id.)

       On December 28, 2018, during this litigation, Defendants provided the government

an updated privilege log (“LOG 2”). (Samie Decl., Ex. B, LOG 2) LOG 2 significantly

overlaps with LOG 1, but omits every single entry mentioning Attorney Beimers. (See

Samie Decl., Ex. C, summary report of de-logged items.) LOG 2 also omits a number of

additional LOG 1 entries that do not specifically identify Attorney Beimers. (Id.)

Defendants identified most of these entries as “non-responsive,” while others as

“responsive”. (Id.)

       Defendants also de-logged communications that should have never been withheld

in the first place, and then delayed considerably in producing them to Plaintiffs.

Specifically, Defendants withheld communications involving legal advice from Attorney

Beimers that Reichert forwarded to physician/client Richard Lindstrom. (See Samie Decl.,

Ex. D, PL0183331-33.) Despite de-logging the Lindstrom entries on December 28, 2018,

Defendants did not produce them to the government until March 8, 2019. (Id.) (See also

Samie Decl., Ex. E, PL0204590-92 (a similar chain involving attorney advice forwarded

to Lindstrom, which was improperly withheld and then produced on March 8th).)




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       LOG 2 continued to log, among other things, hundreds of communications with

Reichert as the only putative attorney. (Samie Decl., Ex. B.)

          B. Defendants Assert Advice of Counsel Defense and Waive Privilege.

       Defendants asserted the following affirmative defense in their Answer:

        13. The Government’s claims are barred, in whole or in part, because any
        actions taken by Defendants with respect to matters at issue in the Complaint
        were undertaken in good faith, in accordance with established industry
        practice, in compliance with reasonable interpretations of applicable laws,
        rules, and regulations, and/or in reasonable reliance upon regulatory
        interpretations and judgments by the United States or any agent or
        contractor thereof upon whom Defendants were entitled to rely.

(Dkt. No. 157, Answer at 110 (emphasis added).) Similarly, in the parties Joint Rule 26(f)

report, Defendants stated: “At all times relevant to the Complaint in Intervention, Precision

Lens and Paul Ehlen worked in good faith to comply with relevant industry guidance,

including the Advanced Medical Technology Association (AdvaMed) Code of Ethics on

Interactions with Health Care Professionals, and consulted with their counsel to ensure that

all of their interactions with physicians was ethical and legal.” (Dkt. No. 145, Joint Rule

26(f) report (emphasis added).)

       The government sought discovery with respect to these defenses, but Defendants

have been generally unwilling to provide details. In response to Interrogatory 8, which

seeks facts and circumstances that form the basis for each defense, Defendants provided

no information, other than referring the government to its Answer, which contains 21

affirmative defenses, and a reservation of rights to assert additional defenses. (Samie Decl.

Ex. F, Defs’ Answers to Interrogatories at 9.) Defendants’ Answer does not appear to

include information relevant to any of these defenses, let alone affirmative defense # 13.

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(See, generally, Answer.) Similarly, Interrogatory 9 asks Defendants to specifically clarify

whether they intend to reference communications with counsel in defense of this matter,

details of the communications, and to identify all documents that relate to such advice.

(Samie Decl., Ex. F at 10.) On November 28, 2018, despite possessing the relevant

communications for several years, Defendants stated that they were still reviewing the

relevant advice and would determine whether they will waive any applicable privilege

before the close of fact discovery and permit Plaintiffs time to conduct discovery. (Id.)

       Defendants’ initial disclosures did not identify Chris Reichert as an attorney for

Precision Lens. (Samie Decl., Ex. G, Defs’ Rule 26(a)(1) Initial Disclosures at 2.) But

Defendants listed materials on LOG 1 and LOG 2 that suggested that they were treating

him as an attorney in this matter. (Samie Decl., Exs. A-B.) On March 5, 2019, after giving

Defendants an additional three months to consider their position, the government sought

clarification regarding Defendants’ treatment of Mr. Reichert. (Samie Decl. Ex. H, Letter

dated March 5, 2019.)

       The government highlighted 538 e-mail communications from LOG 2 where Mr.

Reichert is listed the only attorney and asked:

       1.     Do Defendants intend to treat Christopher Reichert as an attorney in
              this matter;

       2.     Do Defendants intend to reference or rely on communications with
              counsel in defense of this matter; and

       3.     The facts and circumstances that form the basis for affirmative
              defense # 13 set forth in the Answer.




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(Id.) The government also inquired whether Defendants had withdrawn the privilege

designations for the hundreds of de-logged entries from LOG 1 to LOG 2. (Id.)

        Defendants responded on March 8, 2019, stating that Reichert’s primary function at

Precision Lens was as CFO, but that he also operated as Precision Lens’ sole in-house

counsel. (Samie Decl., Ex. I, Beimers letter dated March 8, 2019.) In the letter, Defendants

formally asserted an advice of counsel defense, and declared their intent to produce

materials previously withheld as attorney-client privileged due to Mr. Reichert’s role as

legal counsel for Precision Lens. (Id.) Finally, Defendants stated that the de-logged items

from LOG 1 to LOG 2, were based on an “understanding between the parties that privileged

documents that constitute the communications and advice of counsel in the above-

captioned matter need not be logged.” 1 (Id.)

        Defendants’ corresponding document production contained a subset of the

previously withheld Reichert communications, but Defendants continue to withhold others.

(See Samie Decl., Ex. J, Samie letter dated March 13, 2019.) Defendants supplemented

their production on March 12, 2019, and again on March 18, 2019, to add additional

Reichert communications, as well as previously withheld communications involving

Precision Lens’ outside counsel, Attorney Kastel. (See Samie Decl., Exs. K-L, production

letters.)

        Defendants also included a handful of Attorney Beimers’ related communications

in the March productions. These consist of four e-mail chains where Attorney Beimers


1
 Defendants’ response relates only to the de-logged Attorney Beimers communications,
but does not address the others. (See id.)
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provided legal advice, each instance involving a discrete question regarding a particular

transaction or remuneration Defendants sought to provide their physician clients:

       •

                               (PL0204111-15.) 2

       •


                                                   (Samie Decl., Ex. D, PL0183331-33.)

       •

                                                                      (Samie Decl., Ex. M,
           PL0225475-76.)

       •




                                                   (Samie Decl., Ex. N, PL0225824-28.)

       On March 22, 2019, Defendants supplemented their response to Interrogatory 9,

wherein they limited the waiver as follows:

       In defense of this case, Defendants intend to rely on the advice counsel
       provided to Defendants from 2006 to 2015 on the subject matter of
       Defendants’ compliance with fraud and abuse laws, including the federal
       Anti-Kickback Statute, as part of their day-to-day business practices. The
       attorneys who provided this advice are: Chris Reichert, the Chief Financial
       Officer and In-House Counsel at Precision Lens; Gina Kastel, Faegre Baker
       Daniels; and Kevin Johnson, Fafinski Mark & Johnson.


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  On April 1, 2019, pursuant to Plaintiffs’ inquiry into confidentiality designations for the
purpose of this motion, Defendants indicated that this document was inadvertently
produced. Plaintiffs will address the document in limited detail below, but are not
including it as an exhibit at Defendants’ request. Defendants state that they intend to
provide this document to the Court for in camera review.
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       Defendants have made a full disclosure of documents associated with this
       advice, which have been produced in Productions 11 and 13. Defendants
       reserve the right to further supplement this response in the event Defendants
       locate additional responsive documents.

       Defendants do not waive the attorney-client privilege or work-product
       privilege for legal and/or strategic advice provided by counsel in anticipation
       of or as part of litigation, including but not limited to: (i) any investigations
       by or subpoena from the Federal Bureau of Investigation, United States
       Attorney’s Office, or Department of Health and Human Services Office of
       Inspector General, or (ii) litigation, including but not limited to the above-
       captioned case.
(Samie Decl. Ex. O, Defs’ Supp. Interrogatory Response) Notwithstanding the above-

identified e-mails, and Defendants previous characterization of many of Attorney Beimers’

communications during the relevant time period, Defendants maintain that Attorney

Beimers was only consulted and asked to provide advice as to the government’s

investigation and potential litigation, and that these 50+ entries were simply “inartfully

worded.” (Samie Decl. ¶ 3.)

          C. Defendants Re-Log with Blank Entries (LOG 3) and Continue to
             Withhold Documents Subject to the Waiver.

       Defendants provided a third privilege log (LOG 3) on March 18, 2019. (Samie

Decl., Ex. P, LOG 3.) LOG 3 contains approximately 548 entries, 373 of which are

effectively blank. (Id.) These entries do not list an author, addressees, date, subject, or

privilege description. (Id.) On March 27, 2019, Defendants confirmed that their production

of LOG 3 was not a mistake. (Samie Decl. Ex. Q, Beimers e-mail dated March 27, 2019.)

They further confirmed that all of the items appearing on LOG 3 fall within the relevant

time period. (Id.) Finally, they stated that all of the blank entries either relate to this

matter/litigation or are “non-responsive.” (Id.)

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       Defendants also have produced approximately 31 documents with redactions. (See

Samie Decl., Ex. P.) In one example,



               (Samie Decl., Ex. R.)

       In sum, Defendants’ ongoing withholding of materials subject to the waiver is as

follows:

   • Other than above identified email chains, Defendants have produced none of

       Attorney Beimers’ communications or work product, including items characterized

       in LOG 1 as providing substantive legal advice about day-to-day business activities

       that raise fraud and abuse issues. Comparable records involving similarly situated

       attorneys also appear to be withheld or produced with redaction.

   • Defendants continue to withhold other responsive Reichert communications and

       work product subject to the waiver.

   • Defendants provide no detail as to hundreds of documents they contend are not

       implicated by their waiver.

   III.    DISCUSSION

       Defendants have now asserted that they intend to rely on legal advice provided to

them from 2006 to 2015 on the subject matter of Defendants’ compliance with fraud and

abuse laws, including the federal Anti-Kickback Statute, as part of their day-to-day

business practices. This decision waived the protections afforded by the attorney-client

privilege as to all information regarding: (1) trips, frequent flyer miles, private flights, or

any other remuneration they offered or considered offering physicians during the relevant
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time period; (2) all analysis or communications involving whether Defendants’ conduct

during the relevant time period complied with fraud and abuse laws, including the federal

Anti-Kickback Statute; and (3) all work product by their attorneys who advised them on

these subject matters, including Thomas Beimers, Gina Kastel, Christopher Reichert, 3

Kevin Johnson, and anyone else similarly situated.

       In other words, Defendants’ waiver applies to all information in their possession

and in their lawyers’ possession regarding the aforementioned subjects, regardless of

whether Defendants chose to rely on the advice or to ignore it. Moreover, because the

Defendants solicited this advice from their retained counsel, the law is clear that they have

custody and control over that information and are therefore required to produce it pursuant

to Rules 26 and 34 of the Federal Rules of Civil Procedure.

       Permitting Defendants to make only a partial waiver, and withhold documents

involving lawyers would permit them to use the attorney advice as both a sword and a

shield, in direct contravention of the governing case law.

          A. Scope of Discovery

Rule 26(b)(1) outlines the scope of discovery:

       [U]nless otherwise limited by court order, the scope of discovery is as
       follows: Parties may obtain discovery regarding any nonprivileged matter
       that is relevant to any party’s claim or defense and proportional to the needs
       of the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties' relative access to relevant information,
       the parties' resources, the importance of the discovery in resolving the issues,
       and whether the burden or expense of the proposed discovery outweighs its

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  As set out in Defendants’ initial disclosures, it is not clear that Reichert was actually
serving in a legal function for Precision Lens. Regardless, because Defendants are now
taking the position that Reichert was inside counsel, the waiver extends to him.
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        likely benefit. Information within this scope of discovery need not be
        admissible in evidence to be discoverable.

Fed. R. Civ. P. 26(b)(1).

        Rule 37(a)(3)(B) provides that a party seeking discovery may move for an order

compelling production or answers against another party when the latter has failed to

produce documents requested under Federal Rule of Civil Procedure 34 or to answer

interrogatories under Federal Rule of Civil Procedure 33. Fed. R. Civ. P. 37(a)(3)(B)(iii)-

(iv). To the extent that the items at issue are relevant and properly discoverable, taking into

consideration the proportionality factors under Rule 26(b)(2)(C), and to the extent that they

have not been produced, a court should grant a motion to compel, but if the items are not

relevant or discoverable, the motion should be denied. See Lynn v. Monarch Recovery

Mgmt., Inc., 285 F.R.D. 350, 360 (D. Md. 2012). Whether or not to grant a motion to

compel is at the discretion of the trial court. Commercial Union Ins. Co. v. Westrope, 730

F.2d 729, 731 (11th Cir. 1984).

        For discovery purposes, a party is generally considered to have possession and

control over documents in the possession of its current or formal legal counsel. See Beach

Mart, Inc. v. L & L Wings, Inc., 302 F.R.D. 396, 411 (E.D. N.C. 2014) (ruling that a party

has control of documents where a party’s attorney or former attorney has control, custody,

or possession of those documents); see also Poole ex rel. Elliott v. Textron, 192 F.R.D.

494, 501 (D. Md. 2000) (holding that “documents in the possession, custody or control of

a party’s attorney or former attorney are within the party’s control for the purposes of Rule

34”).


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          B. By Asserting the Advice of Counsel Defense, Defendants Waive
             Attorney-Client Privilege and Work Product Protection as to the Entire
             Subject Matter of Kickback Allegations Presented in the Complaint.

       “The attorney client privilege cannot be used as both a shield and a sword.” United

States v. Workman, 138 F.3d 1261, 1264 (8th Cir. 1998). “The attorney/client privilege is

waived by the voluntary disclosure of privileged communications, and courts typically

apply such a waiver to all communications on the same subject matter. Thus, a party

wishing to invoke the privilege in responding to document discovery must assert it to all

documents to which it may apply.” PaineWebber Group, 187 F.3d at 991-92 (internal

citation omitted), cert denied, 529 U.S. 1020 (2000). “Voluntary disclosure of attorney

client communications expressly waives the privilege [and] the waiver covers any

information directly related to that which was actually disclosed.” Workman, 138 F.3d at

1263 (internal citations omitted). “[T]he attorney client privilege may also be implicitly

waived, and one way that is done is by raising attorney advice as a defense.’” Id. “[A]

party, therefore cannot claim advice of counsel as a defense without permitting the

opposing party to explore the substance of that advice.” Id.

       By raising as a defense that they relied on the advice of their counsel, Defendants

have waived the attorney-client privilege and work-product protections that would

otherwise apply to “all communications to and from counsel concerning the transaction for

which counsel’s advice was sought.” Minnesota Specialty Crops v. Minnesota Wild Hockey

Club, L.P., 210 F.R.D. 673, 675 (D. Minn. 2002); United States ex rel. Drakeford v.

Tuomey, 792 F.3d 364, 391 (4th Cir. 2015). This is because Defendants have the burden

under this defense to show both that there was a “full disclosure of all pertinent facts to

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counsel, and [a] good faith reliance on counsel’s advice.” United States ex rel. Lutz v.

Berkeley Heartlab, Inc., 225 F.Supp.3d 460 (D.S.C. 2016) (reviewing attorney-client

communications after the defense was raised in a False Claims Act case premised on

violations of the Anti-Kickback statute). 4

        A “crucial element” of the advice of counsel defense is that the defendant secured

the advice before taking the action in question. United States v. Polytarides, 584 F.2d 1350,

1352 (4th Cir. 1978). Moreover, a defendant cannot rely on the defense if the defendant is

advised by counsel that a contemplated course of action is legal, but the defendant

subsequently discovers counsel’s advice to be incorrect or discovers reason to doubt the

advice. United States v. Biller, No. 1:06CR14, 2007 WL 325798, at *10 (N.D.W. Va. Jan.

31, 2007) (citing United States v. Benson, 941 F.2d 598, 614 (7th Cir. 1991)). Where a

defendant has already taken “significant steps” toward the completion of a potential action,

and has been warned of the illegality of the potential action, proof of subsequent advice

does not support a valid defense based upon advice of counsel. Polytarides, 584 F.2d at

1353.

        When an advice of counsel defense is raised, the reasonableness of that advice – as

well as its content – is subject to discovery. Analysis of such defense requires “a rigorous



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  The specific elements of the defense are that:“(1) before taking action, (2) [the defendant]
in good faith sought the advice of an attorney whom he considered competent, (3) for the
purpose of securing advice on the lawfulness of his possible future conduct, (4) and made
a full and accurate report to his attorney of all material facts which the defendant knew, (5)
and acted strictly in accordance with the advice of his attorney who had been given a full
report.” United States ex rel. Bidani v. Lewis, 2001 U.S. Dist. LEXIS 260, *23-24 (N.D.
Ill. Jan. 12, 2001) (citing United States v. Cheek, 3 F.3d 1057, 1060 (7th Cir. 1993)).
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examination of the factual predicates for an opinion.” Cordis Corp. v. SciMed Life Sys.,

980 F.Supp. 1030, 1033 (D. Minn. 1997). The Third Circuit explained:

       The party opposing the defense of reliance on advice of counsel must be able
       to test what information had been conveyed by the client to counsel and vice-
       versa regarding that advice – whether counsel was provided with all material
       facts in rendering their advice, whether counsel gave a well-informed opinion
       and whether that advice was heeded by the client.
Glenmede Trust Co. v. Thompson, 56 F.3d 476, 486 (3d Cir. 1995). “A party who intends

to rely at trial on the advice of counsel must make a full disclosure during discovery;

‘failure to do so constitutes a waiver of the advice-of-counsel defense.’” Minnesota

Specialty Crops, 201 F.R.D. at 677 (quoting Trouble v. Wet Seal, Inc., 179 F.Supp. 2d 291,

304 (S.D. N.Y 2001)).

       Thus, an advice of counsel defense operates a broad waiver of “the entire subject

matter of that defense: ‘Were the law otherwise, the client could selectively disclose

fragments helpful to its cause, entomb other (unhelpful) fragments, and in that way

kidnap the truth- seeking process.’” Lutz, 2017 WL 1282012 at *2–3 (quoting XYZ Corp.

v. United States, 348 F.3d 16, 24 (1st Cir. 2003)). See also Chiron Corp. v. Genentech,

Inc., 179 F.Supp.2d 1182 (“[I]nvoking the advice of counsel defense is not a painless

decision or a free lunch.”).

       Here, “Defendants intend to rely on the advice counsel provided to Defendants from

2006 to 2015 on the subject matter of Defendants’ compliance with fraud and abuse laws,

including the federal Anti-Kickback Statute, as part of their day-to-day business practices.”

As a result, this broad waiver applies to any communications or advice relating to

remuneration Defendants gave, or considered giving physicians, as alleged in the

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Complaint. This includes communications with counsel about anytime between 2006 and

2015, that Defendants considered providing doctors trips, frequent flyer miles, private

flights, events, games, meals, promoting physicians, special pricing, and the like.

          C. Because it is a Subject Matter Waiver, Defendants May not Limit the
             Waiver to Specific Attorneys.

       Defendants improperly limit their waiver to Chris Reichert, Gina Kastel, and Kevin

Johnson. Because the waiver is a broad subject-matter waiver, “[e]ven if a defendant claims

to have relied on the legal advice of one attorney, any relevant advice he received from

other attorneys is also discoverable because it ‘bears on the issue of their reasonable

reliance.’” Lutz, 2017 WL 1282012 at *2–*3 (quoting In re Gaming Lottery Sec. Litig.,

No. 96 CIV. 5567, 2000 WL 340897, at *2 (S.D.N.Y. Mar. 30, 2000)). “[A] party should

not be permitted to define selectively the subject matter of the advice of counsel on which

it relied in order to limit the scope of the waiver of the attorney-client privilege and

therefore the scope of discovery. To do so would undermine the very purpose behind the

exception to the attorney-client privilege at issue here—fairness.” Glenmede, 56 F.3d at

486-87.

       As a result, communications relating to the subject matter waiver are not insulated

by virtue of being provided during a known government investigation. See Lutz, 2017 WL

128202 at *4. In Lutz, the government alleged that defendants submitted false claims

tainted by kickbacks as part of a scheme ranging from 2008 through 2015. Id. The court

rejected the defendants’ argument that, despite asserting an advice of counsel defense, they

had not waived the attorney client privilege with regard to communications with counsel


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who advised them during the OIG investigation that began in 2012. Id. (“By pleading an

affirmative advice of counsel defense to the Government’s complaint, Defendants placed

their communications with counsel at issue and so waived the attorney-client privilege as

to all information relating to their communications with counsel during the OIG

investigation about the conduct at issue in this case). See also AKEVA L.L.C. v. Mizuno

Corp., 243 F. Supp. 2d 418, 423 (M.D.N.C. 2003) (“[O]nce a party asserts the defense of

advice of counsel, this opens to inspection the advice received during the entire course of

the alleged infringement. Consequently, the waiver of attorney-client privilege or work-

product protection covers all points of time, including up through trial.”)

       Here, Defendants may not exempt Attorney Beimers, or any other attorney who

provided substantive legal advice during the relevant time period, from the scope of their

waiver. “[W]hen a party asserts an advice of counsel defense[, ] the privilege waiver applies

to advice received during the entire period the misconduct is alleged to have been

ongoing—even up to and during trial.” Lutz, 2017 WL 1282012 at *3. See Minnesota

Specialty Crops, 210 F.R.D. at 679 (“Even though these documents post-date the

commencement of this litigation, we find that advice of counsel, concerning the potential

for an infringement claim by the Plaintiff, was addressed. These documents, in our

considered view, fall within the waiver of privilege that the Defendants have effected by

the adoption of their advice of counsel defense.”).

       Defendants withhold attorney-client documents based on the flawed premise that

Attorney Beimers operated exclusively with respect to the government’s investigation and

subsequent litigation. At the outset, Defendants’ disclosures belie their current

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characterization of Attorney Beimers’ role as outside trial counsel. First, LOG 1 delineates

fifty-plus Attorney Beimers communications that do not mention an ongoing government

investigation (or other litigation). These entries stand in stark contrast with the sixty-plus

entries that do. Moreover, Defendants’ peculiar treatment (i.e. deletion) of these entries,

from LOG 1 to LOG 2, further emphasizes the importance of the original LOG 1

descriptions, wherein it appears that Attorney Beimers is providing substantive legal advice

regarding remuneration Defendants hoped to provide their customers, “as part of their day-

to-day business.”

       Defendants also voluntarily waived and produced a handful of Attorney Beimers

communications that illustrate his dual role.



                                                                     (PL0204111-13.)




5
  PL now claims that its production of this document was inadvertent, even though it was
produced in the March 8, 2019, production wherein Defendants explicitly withdrew their
claims of attorney-client privilege. Despite Plaintiffs’ request, Defendants have been
unwilling to share the steps that they purportedly took to prevent the disclosure of this
document. Plaintiffs are nevertheless segregating the document for now. But the email is
a perfect example of the inconsistency in Defendants’ distinction. In it, Beimers provides
advice on Defendants’ compliance with fraud and abuse laws regarding a specific event.
The fact that this advice is being provided by a particular attorney during the pendency of
an investigation does not affect the fact that it falls squarely within Defendants’ waiver.
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                                               (Samie Decl., Ex. D, PL0183331-33).

           Some of these documents also show the close coordination between Attorney Kastel

and Attorney Beimers, who worked at the same law firm, before providing a legal opinion

related to a discrete transaction.




                          (Samie Decl., Ex. M, PL0225475-76).




                                                                      (Samie Decl., Ex. N,

PL0225824-28).




(Id.). 6

6
  This document presents another example of the problematic distinction that Defendants
are attempting to make. This email was properly produced because it relates to the subject
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       These examples establish what LOG 1 suggests, that Mr. Beimers operated in a dual

function during the relevant time period. As day-to-day business issues came up,

Defendants sought counsel from Beimers directly, or indirectly through their outside team

of attorneys. Because they have now waived attorney-client privilege as to the entire

subject matter of compliance with the Anti-Kickback Statute, and related fraud laws during

the relevant time period, these communications must be produced.

       Defendants also lack legal precedent for withholding these materials. Plaintiffs are

not aware of FCA case law that allows Defendants to limit their waiver by attorney as

opposed to subject matter. 7 To the extent they seek support from willful patent

infringement cases decided by the United States Court of Appeals for the Federal Circuit,

such support is misplaced. In re EchoStar Commc’ns Corp is the leading case wherein the

Federal Circuit addressed the impact of an advice of counsel defense on attorney-client

privilege in the willful infringement context. 448 F.3d 1294 (Fed Cir. 2006). There, the

court rejected EchoStar’s contention that “waiver of opinions does not extend to advice

and work product given after litigation began.” 448 F.3d at 1302 n. 4. (stating that advice

is discoverable so long as it is relevant to ongoing willful infringement and that ongoing

infringement is at issue in the litigation). One year later, the Federal Circuit discussed the

impact of an advice of counsel defense on communications with and documents from trial

counsel who operated independently from opinion counsel. In re Seagate Tech., LLC, 497


matter of Defendants’ waiver. The fact that Attorney Kastel happened to convey her law
firm’s legal guidance rather than Attorney Beimers is of no import.
7
  When the parties met and conferred regarding this issue, Defendants stated that they were
not interested in discussing the law.
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F.3d 1360 (Fed. Cir. 2007). The court determined that raising an advice of counsel defense

does not waive as to trial counsel under such circumstances, but declined to assert an

absolute rule, and would extend the waiver if production is justified in unique

circumstances. Id. at 1374-75 (“[T]rial courts remain free to exercise their discretion in

unique circumstances to extend waiver to trial counsel, such as if a party or counsel engages

in chicanery.”).

       Since that time, Seagate has been undermined in several respects. First, the United

States Supreme Court abrogated Seagate’s test for willful infringement, which

underpinned Seagate’s waiver analysis. 8 Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S.Ct.

1923, 1932-35 (2016). Second, the Federal Circuit has not extended Seagate in several

contexts. See, e.g., In re: Optuminsight, Inc., 2017-116, 2017 WL 3096300 at *4 (Fed. Cir.

July 20, 2017) (holding that Seagate was not applicable where the defendant’s waiver was

not limited to pre-litigation conduct); In re: Alcon Laboratories, 2018-115, 2018 WL

7485446 at *2 (Fed. Cir., Feb. 14, 2018) (holding that district court properly extended

waiver to trial counsel as part of discretion afforded by Seagate). Third, district courts have

likewise limited Seagate as only applying “[w]hen a party maintains a sharp distinction

between [the roles of opinion counsel and trial counsel].” Krausz Indus. Ltd. V. Smith-

Blair, Inc., Civ. No. 5:12-CV-00570-FL 2016 U.S. Dist. LEXIS 191859 at * 27-28 (E.D.

N.C., Dec. 13, 2016) (“In re Seagate’s limitation on the waiver of both attorney-client


8
  Unlike Seagate, where the court incorrectly held willful patent infringement requires a
showing of objective recklessness, the government can establish the requisite scienter in
an FCA case through (a) actual knowledge; (b) deliberate ignorance of truth or falsity, or
(c) reckless disregard of truth or falsity. 31 U.S.C. §§ 3729(a)(1)(A), (b)(1), b(2)(A)(i).
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privilege and work product immunity is predicated on opinion counsel and trial counsel

performing distinct roles in advising the alleged infringer.”).

       Krausz, like here, involved a situation where “opinion counsel” and “trial counsel”

did not operate with a sharp distinction of roles. The court ultimately ordered production

of communications between (a) opinion counsel and trial counsel; (b) trial counsel and

defendant; (c) in-house counsel and defendant; and in-house counsel and trial counsel that

relate to the subject matter of the defendant’s waiver. Id. at 26-36. See also, CVIN LLC v.

Clarity Telecom, LLC, Case No. 1:17-CV-00185-AGF 2018 WL 3020200 at *3. (“Thus, a

defendant’s use of an assumed date … for the assertion of privilege, without reference to

the subject matter of the document for which privilege had been asserted, is

inappropriate.”) (internal quotations omitted).

       The same should apply here. To the extent Defendants communicated about fraud

and abuse laws, including the federal Anti-Kickback Statute, as part of their day-to-day

business practices, from 2006 to 2015, Plaintiffs are entitled to discover those

communications.

          D. Defendants’ Subject Matter Waiver Applies to all Related Attorney
             Work Product.

       The assertion of an advice-of counsel defense can also serve as a waiver of attorney

work product immunity. Minnesota Specialty Crops, 210 F.R.D. at 675 (citing Mushroom

Assoc. v. Monterey Mushrooms, Inc., 1992 WL 442892 *3 (N.D. Cal., May 19, 1992). [A]t

its heart, the fundamental inquiry as to the scope of the work product waiver is, again, a

matter of fairness, and we must consider the waiver in the context of an asserted advice-


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of-counsel defense…” Id. at 676. For instance, “[w]hen a party intends to rely at trial on

the advice of counsel as a defense to a claim of bad faith, that advice becomes a factual

issue, and opposing counsel is entitled to know not only whether such an opinion was

obtained but also its content and what conduct it advised.” Id. at 676-77 (quoting Trouble,

179 F.Supp.2d at 304).

       In an FCA case, when a party asserts an advice of counsel defense, the waiver of

the work product protection should extend to communicated, as well as uncommunicated,

work product. Lutz, 2017 WL 1282012 at *4 (citing Chiron Corp. v. Genentech, Inc., 179

F. Supp. 2d 1182, 1189-90 (E.D. Cal. 2001) (listing cases)). As the court in Lutz noted, to

oppose an FCA defendant’s advice of counsel defense, the Government must be able to

discover the following about the relevant contracts and kickback schemes:

       discover the information that was conveyed by [Defendants] to counsel and
       vice-versa; discover what facts were provided by [Defendants] to [their
       counsel]; discover what facts [Defendants' counsel] may have obtained from
       any other sources other than Defendants; discover the legal research
       conducted by and considered by [Defendants' counsel]; discover the opinions
       that [Defendants' counsel] gave [Defendants] and discover whether
       [Defendants] selectively ignored any of the facts and opinions given [them]
       by [their counsel] in reaching a decision ...


Lutz, 2017 WL 1282012 at *5 (quoting JJK Mineral Co., LLC v. Swiger, 292 F.R.D. 323,

336 (N.D.W. Va. 2013).

       Similarly, the court in Dunhall Pharmaceuticals, Inc. v. Discus Dental, Inc.,

explained why uncommunicated records should also be produced:

       [C]ertainly it would not be rational to assume that everything in counsel's
       files reached the client, or that counsel communicated to the client all of what
       he or she really thought, but it would be comparably irrational to assume that

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       there could be no relationship between what counsel really thought (as
       reflected in her private papers) and what she in fact communicated to her
       client. In this important sense, evidence about what really was in the lawyer's
       mind could be quite relevant to the issue of what was really in the client's
       mind.

994 F.Supp. 1202, 1205–06 (C.D.Cal.1998) (quoting Electro Scientific Indus., Inc. v.

General Scanning, Inc., 175 F.R.D. 539, 545 (N.D.Cal.1997)). “In substance, the Dunhall

court reasoned that it would be fair to examine the client about what was in the attorney's

files for the purposes of ascertaining whether, even if the negative documents were not

disclosed to the client, the information in the documents had been revealed.” Beneficial

Franchise Co. v. Bank One, N.A., 205 F.R.D. 212, 218 (N.D. Ill. 2001) (“Not all

information conveyed to a client is neatly reflected in a transmittal letter or in a

memorandum specifically directed to the client. The practical reality is that if negative

information was important enough to reduce to a memorandum, there is a reasonable

possibility that the information was conveyed in some form or fashion to the client.”).

       Accordingly, this Court should order Defendants to produce all documents in

defendants’ or counsel’s files that relate to the subject matter of Defendants’ compliance

with fraud and abuse laws, including the federal Anti-Kickback Statute, as part of their

day-to-day business practices from 2006 to 2015, irrespective of whether the documents

indicate on their face that they were conveyed to Defendants.

          E. Defendants Should Provide a Complete Privilege Log of Materials they
             Continue to Withhold.

       Rule 26(b)(5)(A) sets forth the requirement for a party claiming privilege or

protecting trial-preparation materials:


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       (A) Information Withheld. When a party withholds information otherwise
           discoverable by claiming that the information is privileged or subject to
           protection as trial-preparation material, the party must:

           (i) expressly make the claim; and

           (ii) describe the nature of the documents, communications, or tangible
           things not produced or disclosed—and do so in a manner that, without
           revealing information itself privileged or protected, will enable other
           parties to assess the claim.

Fed. R. Civ. P. 26(b)(5)(A).

       Based on the government’s review of LOG 3, the 205 blank items bates stamped

PL0149831 or before, consist of the de-logged (and now re-logged) entries, with a couple

of exceptions. The following items were never de-logged (i.e. they appear in LOG 1 and

LOG 2), but now appear in LOG 3, with blank entries.

       •   PL0146549 – Reichert/Ehlen/Johnson email about laser demonstration;
       •   PL0146552 – Reichert/Ehlen/Johnson email about laser demonstration;
       •   PL0147950 – Elkjer/Reichert/Gosz/Ehlen email about Vikings tickets;
       •   PL0148937 – Reichert/Norling email advice regarding compliance with
           Anti-Kickback Statute;
       •   PL0149681 – Reichert/Ehlen/Gosz email about compliance with Anti-
           Kickback Statute with regard to a purchase agreement.

(See Samie Decl., Ex. P.) Neither LOG 1 nor LOG 2 identified Attorney Beimers as being

related to these communications, yet they continue to be withheld. The government is

unable to conduct a meaningful review of the 168 blank items bates stamped after

PL0149831, which relate to items withheld from productions on March 8, 12, and 18, 2019.

Defendants state that these materials are being withheld because they are either “non-

responsive” or because they “relate to this matter/litigation.” (Samie Decl., Ex. Q.)




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       As an initial matter, Plaintiffs do not understand why Defendants are logging non-

responsive documents. 9 Next, Plaintiffs need to meaningfully assess the materials

Defendants claim the scope of their waiver, particularly here where Defendants incorrectly

limit the scope of their waiver. Given the peculiar logging history set forth above, Plaintiffs

request that the Court order Defendants to provide a complete log of everything that they

are withholding, including but not limited to all attorney communications, all attorney files,

entries that appear blank in LOG 3, as well as entries they previously identified as “non-

responsive,” to include, the author, addressees, date, subject, or privilege description.

          F. Defendants Must Provide Complete Interrogatory Responses Relating
             to Advice of Counsel Defense.

       A party may move for an order compelling an answer if “a party fails to answer an

interrogatory submitted under Rule 33.” Fed. R. Civ. P. 37(a)(3)(B)(iii). Interrogatory

responses should be “explicit, responsive, complete and candid.” In re Rail Freight Fuel

Surcharge Antitrust Litig. 281 F.R.D. 1, 7 (D.D.C. 2011). “Contention interrogatories …

may ask another party to indicate what it contends, to state all the facts on which it bases

its contentions, to state all the evidence on which it bases its contentions, or to explain how

the law applies to the facts.” White v. 14051 Manchester, Inc., Civ. No. 4:12CV469 (JAR),

2012 WL 5994263 at *9 (E.D. Mo. Nov. 30, 2012) (internal quotation omitted). Because

Defendants have provided incomplete answers to the aforementioned interrogatory request



9
 Indeed, approximately 24 communications originally marked “non-responsive” in LOG
1, and de-logged from LOG 2, were produced as a part of Defendants’ March productions,
and thus not re-logged in LOG 3. (See, Samie Decl., Exs. A, B, and P.)

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9, the United States requests that this Court issue an order compelling a full and complete

response. 10

       Interrogatory requests 8 and 9 were served upon the Defendants so that the United

States could understand the bases for the Defendants’ defenses, including specifically the

advice-of-counsel defense. These are appropriate interrogatories that should be answered.

See, e.g., Finn v. BNSF Ry. Co., 11-CV-349-J, 2012 WL 12915486 (D. Wyo. Dec. 21,

2012) (granting motion to compel answers regarding affirmative defenses); To the extent

that it would be burdensome to provide all facts, Plaintiffs merely seek the material and

principal facts. Bituminous Cas. Corp. v. Scottsdale Ins. Co., File No. 1:12-CV-84 (SNLJ),

2013 WL 1411544 at *1 (Mo. April 8, 2013) (holding that although a contention

interrogatory will be considered overly broad and unduly burdensome if it seeks ‘all facts'

supporting a claim or defense, such that the answering party is required to provide a

narrative account of its case, a party is nevertheless entitled to the “material” or “principal”

facts in support of a contention) (citations omitted).

       On March 8, 2019, Defendants stated that they would supplement their

interrogatory responses to reflect their intent to rely on the advice of counsel in defense

of this matter. (Samie Decl., Ex. I.) Two weeks later, Defendants provided a supplemental

response to Interrogatory 9 which fails to describe discussions, dates of discussions, the



10
   Plaintiffs believe that Defendants have inadequately answered Interrogatory 8, as it
currently provides no facts, let alone material and principal facts, relating to their
affirmative defenses. (Samie Decl., Ex. F.) Nevertheless, because Defendants have stated
that they will supplement their answer by April 15, Plaintiffs do not seek specific relief
here with respect to Interrogatory 8.
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method and manner of communication, or the subject matter Plaintiffs discussed with

counsel during the relevant time period, as requested by the interrogatory. (Samie Decl.,

Ex. O.) Plaintiffs respectfully request that this Court order Defendants to provide

complete answers to Interrogatory 9.

   IV.      CONCLUSION

         For the reasons stated above, Plaintiffs respectfully request that this Court issue an

order:

         (1) finding that Defendants have waived any attorney client privilege or work

product protection relating to the advice counsel provided to them from 2006 to 2015 on

the subject matter of Defendants’ compliance with fraud and abuse laws, including the

federal Anti-Kickback Statute, as part of their day-to-day business practices;

         (2) directing Defendants to immediately produce all documents, unredacted, that

relate to this advice;

         (3) clarifying for any outside law firms the scope of Defendants’ subject matter

waiver to provide guidance that they should not withhold documents relating to this advice;

         (4) requiring Defendants to submit a comprehensive privilege log of all materials

they continue to withhold, including but not limited to all attorney communications, all

attorney files, entries that appear blank in LOG 3, as well as entries they previously

identified as “non-responsive,” to include, the author, addressees, date, subject, or privilege

description; and

         (5) requiring Defendants to provide complete response regarding facts supporting

their good faith and/or advice of counsel defense, in response to Plaintiffs’ Interrogatory 9.

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Dated: April 2, 2019                    Respectfully submitted,

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